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18
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
19
                                    WESTERN DIVISION
20
   UNITED STATES OF AMERICA,                   Case No. 2:15-cv-5903-DDP-JEM
21
                Plaintiff,                     PLAINTIFF UNITED STATES’
22                                             NOTICE OF MOTION AND MOTION
                       v.                      FOR COURT ORDER SETTING
23                                             DEADLINES FOR SUBSTANTIAL
   COUNTY OF LOS ANGELES et al.,               COMPLIANCE; DECLARATION OF
24                                             MATTHEW NICKELL; [PROPOSED]
                Defendants.                    ORDER
25
                                               Date: December 19, 2022
26                                             Time: 10:00 a.m.
                                               Courtroom 9C
27
                                               Hon. Dean D. Pregerson
28
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 1        NOTICE OF MOTION AND MOTION FOR COURT ORDER SETTING
 2                   DEADLINES FOR SUBSTANTIAL COMPLIANCE
 3         PLEASE TAKE NOTICE that, on December 19, 2022, at 10:00 a.m., or as soon
 4   thereafter as possible, Plaintiff United States will, and hereby does, move this Court for
 5   an order setting deadlines for substantial compliance with the settlement agreement. This
 6   order would compel Defendants to make measurable progress each quarter year to
 7   implement settlement provisions 63, 64, and 80 by setting intermediate benchmarks tied
 8   to increased compliance percentages, and setting a schedule for Defendants to take
 9   specific agreed-to actions to improve compliance with these provisions. In addition, the
10   United States seeks an order compelling Defendants to achieve substantial compliance
11   with all outstanding settlement provisions by specific deadlines, and with the entire
12   agreement no later than June 30, 2024.
13         This motion will be made before the Honorable Dean D. Pregerson, United States
14   District Judge, in Courtroom 9C of the First Street Federal Courthouse located at 350
15   West 1st Street, Los Angeles, California, 90012.
16         This motion is made upon this Notice, the attached Memorandum of Points and
17   Authorities, Declaration of Matthew Nickell, and all pleadings, records, and other
18   documents on file with the Court in this action, and upon such oral argument as may be
19   presented at the hearing of this motion.
20   //
21   //
22   //
23   //
24   //
25   //
26   //
27   //
28   //
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 1         This motion is made following the conference of counsel pursuant to Local Rule
 2   7-3 which was held on November 2, 2022 and November 9, 2022.
 3
                                                       Respectfully submitted,
 4
     Dated: November 10, 2022                          FOR THE UNITED STATES:
 5
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16   Civil Rights Section, Civil Division              Civil Rights Division
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2           INTRODUCTION
 3           Defendants’ substantial compliance with their obligation to ensure constitutional
 4   conditions of confinement at the Los Angeles Jails is long overdue. The United States’
 5   latest efforts to bring about compliance with the settlement agreement—assisting
 6   Defendants in developing detailed implementation plans for Defendants to achieve
 7   substantial compliance and a timely end to this case—have resulted in limited success.
 8   Despite these efforts, there is no clear path to substantial compliance with three of the
 9   most fundamental requirements of the settlement agreement (provisions 63, 64, and 80),
10   meant to ensure that incarcerated persons with serious mental illness receive care and
11   treatment in housing appropriate to meet their needs, and adequate out-of-cell time.
12   Meanwhile, greater efforts are needed to keep pace with the growing demand for mental
13   health care at the Jails—incarcerated persons with serious mental illness now make up
14   almost half of the entire incarcerated population, more than double the 22% proportion
15   they made up in 2015. Additional non- and partially compliant requirements of the
16   settlement agreement must also be implemented in a timely manner.
17           Accordingly, the United States seeks an order with intermediate benchmarks that
18   would require Defendants to make measurable progress each quarter year to implement
19   provisions 63, 64, and 80, and to comply by specific dates with agreed-upon
20   implementation measures including expansion of mental health housing and capacity to
21   provide involuntary medications, expansion of stepdown units that provide an improved
22   care environment for individuals with serious mental illness, and increased use of
23   Medication-Assisted Treatment (MAT). The United States also requests that the Court
24   require Defendants to achieve substantial compliance with outstanding settlement
25   agreement provisions by specific deadlines, and with the entire agreement no later than
26   June 30, 2024. 1
27
28   1
         Defendants must also maintain substantial compliance for a period of twelve
                                                   1
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 1         PROCEDURAL HISTORY AND STATEMENT OF FACTS
 2         A.     Defendants’ Substantial Compliance Is Overdue and Progress Has
 3                Stalled.
 4         When the parties entered into the settlement agreement in August 2015, they
 5   agreed that Defendants would build upon measures already underway to improve
 6   conditions and sustain reforms at the Jails. ECF No. 14 at 2–3. As a result, the parties
 7   included provision 115 in the settlement agreement in which Defendants committed to
 8   implement all provisions of the settlement agreement “within six months” after the
 9   effective date of July 1, 2015, “[u]nless otherwise agreed to under a specific provision.”
10   Id. at 53; see also id. at 7 (defining effective date). Defendants made steady progress
11   toward substantial compliance during the first three years of the settlement agreement,
12   according to the Monitor. See Monitor’s Corrected 12th Rep. (“12th Rep.”), ECF No.
13   174-1, at 3 (noting that “[t]he reports filed by the Monitor between 2015 and 2018 are a
14   testament to the County’s earlier accomplishments, with each report assessing new
15   provisions as being Substantially Compliant”). Specifically, from 2015 to 2018, the
16   Monitor found that Defendants had achieved substantial compliance with 32 of 69
17   substantive provisions. Id.
18         In 2019, Defendants’ progress slowed. See id. (noting “the County’s pace and
19   progress at bringing provisions into Substantial Compliance slowed considerably” in
20   2019). In 2020 and 2021, the COVID-19 pandemic set back Defendants’ compliance
21
22   consecutive months in accordance with provision 116. ECF No. 14 at 53. This timeline
     to achieve and maintain substantial compliance includes provision 34, which requires
23   Defendants to provide release planning services to prisoners with mental illness who
24   require continued supports and services to ensure continuity of care, prevent
     decompensation, and minimize cycling in and out of the Jails. See ECF No. 142 at 5–7
25   (text of provision 34 as amended). Compliance with this provision—which has been the
26   subject of an intervention motion—is critically important to reducing recidivism among
     the population with mental illness and to ensuring the public safety. Accordingly, the
27   proposed order holds the County to its promised deadline of December 2022 for reaching
28   substantial compliance with this provision.
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 1   efforts further. See 12th Rep., ECF No. 174-1, at 4 (stating that the “considerable
 2   disruption” the pandemic caused to custody and mental health operations, including by
 3   diverting staff and resources, partially but not wholly explained the County’s slowing
 4   progress); id. at 14 n.23 (noting that a pilot program to increase out-of-cell time for
 5   individuals in High Observation Housing (“HOH”) units was suspended during the
 6   pandemic). In the first quarter of 2021, there were five completed suicides in the Jails,
 7   which was as high as in all of 2018, the year with the highest annual suicide count for the
 8   entire period between 2015 and 2020. See 12th Rep., 174-1, at 16. Currently, Defendants
 9   have not achieved substantial compliance with 29 of 69 provisions. 14th Rep., ECF No.
10   221, at 2.
11         B.     Recent Planning Efforts Have Had Limited Success in Charting a Path
12                Toward Compliance.
13         Recognizing Defendants’ stalled progress, in January 2021, the United States
14   demanded that Defendants develop implementation plans to bring all substantive
15   provisions into substantial compliance and this case to a close in a timely and effective
16   manner. See 12th Rep., ECF No. 174-1, at 3–4, 17; United States’ Response to Monitor’s
17   Twelfth Rep. & Request for a Status Conf., ECF No. 166, at 3. The parties, with the
18   Monitor, engaged in discussions for several months. Despite expressing interest in
19   finding solutions to compliance barriers, Defendants were unwilling to commit to the
20   development of meaningful implementation plans. See 12th Rep., ECF No. 174-1, at 17.
21         On September 8, 2021, the Monitor requested a status conference—the first since
22   2015—to “further[] progress on the development and adoption of such [implementation]
23   plan[s],” 12th Rep., ECF No. 174-1, at 17; ECF No. 34 (minutes of Oct. 9, 2015 status
24   conference). The United States supported the status conference request to apprise the
25   Court of the slowing pace of compliance and to find solutions that would accelerate
26   progress, including developing plans for coming into substantial compliance with the
27   settlement agreement. ECF No. 166 at 2.
28         The Court held its first status conference in this action on November 5, 2021,
                                                  3
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 1   placing a renewed focus on overcoming barriers to compliance and adding greater
 2   structure and transparency to the parties’ negotiations. The Court then issued an order
 3   requiring, inter alia, that implementation plans “be finalized and adopted no later than
 4   May 15, 2022.” ECF No. 176. On January 24, 2022, the Court entered a separate order
 5   requiring Defendants to develop and adopt implementation plans for 23 provisions that
 6   had not reached substantial compliance, including provisions 63, 64, and 80. ECF No.
 7   185 at 2–3. The Court ordered that the implementation plans include “short- and long-
 8   term goals with concrete steps to overcome barriers to compliance and achieve
 9   substantial compliance, the allocation of responsibilities to specific staff to ensure
10   accountability, and timetables to achieve substantial compliance with all outstanding
11   requirements of the settlement agreement within two years.” Id. at 2.
12         The planning process with the Court’s assistance over the last several months led
13   to some success in reaching consensus on steps to bring outstanding provisions into
14   substantial compliance and finality to the case. See 14th Rep., ECF No. 221, at 1 (“Over
15   the past several months, the County has begun to more purposefully articulate a path
16   towards Substantial Compliance with this Agreement.”); see also ECF No. 190, at 42–43
17   (Monitor crediting the Court’s direction and guidance, in part, for the relative success of
18   the planning process). The parties reached final agreement on most of the plans. For
19   several others, they reached tentative agreement pending some additional information or
20   resolution of minor disagreements. ECF No. 190 at 3. The Monitor has opined that the
21   agreed-upon plans “effectively chart a path for [the County] to achieve substantial
22   compliance with a majority of the outstanding provisions in the agreement.” Id. at 42.
23         However, the planning effort has not produced the same results for provisions 63,
24   64, and 80, three of the most consequential requirements of the settlement agreement still
25   outstanding. See 14th Rep., ECF No. 221, at 3–4. Although Defendants have developed
26   initial plans with short-term measures intended to set the groundwork for achieving
27   substantial compliance, the plans are incomplete, lack consensus support among key
28   stakeholders, and remain mostly aspirational. See id. at 4 (describing the “phased
                                                4
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 1   approach” in Defendants’ proposed implementation plans for provisions 63 and 64 as
 2   comprising just “a single well-defined phase,” and observing that “[a]ny additional
 3   phases are speculative, unarticulated, and as yet undefined”).
 4         C.     The Demand for Mental Health Care Continues to Grow.
 5         The influx of incarcerated persons with serious mental illness has increased an
 6   already high demand for mental health care during Defendants’ stalled progress in
 7   reaching substantial compliance with the settlement agreement. See ECF No. 14 at 2–3
 8   (recognizing in August 2015 that the Jails “form the largest jail system in the nation and
 9   house among the highest populations of prisoners with mental illness.”). When the
10   parties entered into the settlement agreement, they expected it would “support the
11   County’s and the Sheriff’s collaborative efforts to expand comprehensive and effective
12   mental health diversion and re-entry programs that are designed to lead to more positive
13   outcomes in the care and custody of individuals with serious mental illness who are also
14   participants in the criminal justice system.” Id. at 3. Contrary to these expectations, in
15   the years since the settlement agreement was entered, the population of individuals with
16   mental illness in the Jails has grown enormously in absolute numbers and as a proportion
17   of the total Jails population. In 2015, there were 3,710 individuals in the Jails identified
18   as having mental illness, which constituted 22% of the overall Jails population at that
19   time. 12th Rep., ECF No. 174-1, at 5. In 2021, there were 5,620 individuals with
20   diagnosed mental illnesses in the Jails. Id. at 8. And by September 2022, that population
21   had climbed higher still to “just over 7,000,” or “about half of the entire jail population.”
22   See Cnty. of L.A. Board of Supervisors, Meeting Transcript, Sept. 27, 2022 (“BOS
23   9/27/22 Transcript”), at 211, http://file.lacounty.gov/SDSInter/bos/sop/transcripts/
24   1131103_092722.pdf (testimony of Dr. Timothy Belavich).
25         At present, the Jails remain both the largest jail system and the largest mental
26   health institution in the nation. See Francine Kiefer, From LA Jail, Two Inmates Pioneer
27   Care for Mentally Ill Peers, The Christian Science Monitor, May 18, 2021,
28   https://www.csmonitor.com/USA/Justice/2021/0518/From-LA-jail-two-inmates-pioneer-
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 1   care-for-mentally-ill-peers.
 2         ARGUMENT
 3         Today, more than seven years after the settlement agreement was entered as an
 4   order, 29 of 69 provisions have yet to achieve substantial compliance. See 14th Rep.,
 5   ECF No. 221, at 2. The settlement agreement required Defendants to implement nearly
 6   all settlement agreement provisions within six months after the effective date, or by
 7   January 1, 2016. ECF No. 14 at 7 (effective date definition), 53 (provision 115). Had
 8   Defendants implemented these provisions as required, the settlement agreement would
 9   not remain so far from compliance.
10         Defendants also have yet to demonstrate how they will achieve substantial
11   compliance with all overdue requirements. See ECF No. 14, at 53. The United States’
12   latest attempts to accelerate compliance through the development of implementation
13   plans have had limited success in addressing Defendants’ delay and setting new
14   deadlines to bring this case to a close. While Defendants made important strides
15   developing almost two dozen implementation plans over the last several months, many
16   incarcerated persons with mental illness continue to be denied appropriate mental health
17   care and meaningful opportunities for out-of-cell time because Defendants do not have
18   concrete, long-term plans to ensure substantial and timely compliance with provisions
19   63, 64, and 80. This Court has the authority to issue supplemental orders, including
20   orders setting deadlines, to ensure that Defendants make timely progress to remedy the
21   unconstitutional conditions of confinement that gave rise to this case and that would
22   bring it to a successful conclusion.
23         To hold Defendants accountable and ensure meaningful progress is made, there
24   must be concrete deadlines by which they will comply with the settlement agreement.
25   Defendants should be ordered to (1) meet benchmarks for achieving quarterly progress
26   toward substantial compliance with provisions 63, 64, and 80; (2) comply with agreed-
27   upon implementation measures according to a set schedule; (3) achieve substantial
28   compliance with outstanding settlement provisions by specific deadlines; and (4) reach
                                               6
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 1   substantial compliance with the entire agreement no later than June 30, 2024.
 2         A.     Defendants Have Not Achieved Substantial Compliance with
 3                Settlement Agreement Provisions 63, 64, 80, and Other Provisions.
 4         According to the Monitor’s latest compliance assessment, which was issued over
 5   seven years after the Court entered the settlement agreement and nearly six years after
 6   the court-imposed deadlines for implementation set forth in provision 115 and other
 7   applicable provisions, approximately 40% of the substantive provisions have yet to be
 8   implemented at levels to achieve substantial compliance. 14th Rep., ECF No. 221, at 2.
 9   This includes provisions 63, 64, and 80.
10                1.    There is insufficient capacity to provide specialized mental health
11                      housing to incarcerated persons who need it under provision 63.
12         Provision 63 requires sufficient mental health housing for individuals with serious
13   mental illness. ECF No. 14, at 31. The provision states:
14
                  63. The County and the Sheriff will maintain adequate High
15                Observation Housing and Moderate Observation Housing
16                sufficient to meet the needs of the jail population with mental
                  illness, as assessed by the County and the Sheriff on an ongoing
17                basis. The County will continue its practice of placing prisoners
18                with mental illness in the least restrictive setting consistent with
                  their clinical needs.
19
20   Id. The agreed-upon compliance measures for Provision 63 assess whether Defendants
21   are minimizing wait times in intake HOH areas, where incarcerated persons have almost
22   no opportunities to leave their cells, and ensure such individuals receive permanent HOH
23   placements in a timely manner. But in the first quarter of 2022, the most recent quarter
24   for which data is available, 58% of individuals at the Twin Towers Correctional Facility
25   (TTCF)—the County’s principal mental health jail for incarcerated men—and 49% of
26   individuals at the Century Regional Detention Facility (CRDF)—the County’s jail for
27   women—waited for seven days or longer in such intake areas for a permanent HOH bed.
28   See 14th Rep., ECF No. 221, at 84 (noting that the compliance measures allow only 10%
                                                7
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 1   of individuals to wait more than seven days for permanent HOH beds).2
 2                2.     Incarcerated persons with the most serious needs do not receive
 3                       appropriate care because there are insufficient inpatient beds as
 4                       required by provision 64.
 5         Provision 64 requires Defendants to create short- and long-term plans to ensure
 6   there is sufficient licensed inpatient mental health care in the Jails for incarcerated
 7   persons who require it. ECF No. 14, at 31–32. The provision states:
 8
                  64. Within six months of the Effective Date, the County and
 9                the Sheriff will develop a short-term plan addressing the
10                following 12-month period, and within 12 months of the
                  Effective Date, the County and the Sheriff will develop a long-
11                term plan addressing the following five-year period, to
12                reasonably ensure the availability of licensed inpatient mental
                  health care for prisoners in the Jails. The County and the
13                Sheriff will begin implementation of each plan within 90 days
14                of plan completion. These plans will describe the projected
                  capacity required, strategies that will be used to obtain
15                additional capacity if it is needed, and identify the resources
16                necessary for implementation. Thereafter, the County and the
                  Sheriff will review, and if necessary revise, these plans every
17                12 months.
18
19   Id. Incarcerated individuals receive inpatient mental health care only in the Jails’
20   Correctional Treatment Center – Mental Health Unit (CTC-MHU), a.k.a. the Forensic
21   Inpatient Unit (FIP). See ECF No. 190, at 32. But as Defendants themselves have
22   acknowledged, this inpatient unit “does not include sufficient treatment space for the
23   mental health population [Correctional Health Services] serves.” Id. Currently, there are
24   about 200 individuals in the Jails with a Mental Health Level of Care of P4, indicating
25
26   2
       As of October 14, 2022, the United States was told that most individuals in TTCF’s
27   HOH intake areas wait two to three weeks for a permanent HOH bed. On that date, one
28   individual had been waiting 42 days. Declaration of Matthew Nickell (“Decl.”) ¶3.
                                                 8
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 1   that they need inpatient care. 3 But there are just 44 beds in the inpatient unit. ECF No.
 2   190 at 32.
 3                3.     Incarcerated persons languish in isolation because they do not
 4                       receive adequate out-of-cell time as required by provision 80.
 5         Provision 80 requires that individuals with serious mental illness receive sufficient
 6   time out of their cells, including for group programming and recreation, to avoid
 7   isolation that would be detrimental to their care. ECF No. 14, at 39–40. The provision
 8   states that “[t]he County and the Sheriff will continue to make best efforts to provide
 9   appropriate out-of-cell time to all prisoners with serious mental illness, absent
10   exceptional circumstances, and unless individually clinically contraindicated and
11   documented in the prisoner’s electronic medical record.” Id. at 39. It required
12   Defendants to implement the out-of-cell requirement according to a fixed schedule,
13   according to which, by January 1, 2017, Defendants should have been offering “100% of
14   the prisoners in HOH ten hours of unstructured out-of-cell recreational time and ten
15   hours of structured therapeutic or programmatic time per week.” Id.
16         Defendants have failed to provide almost any of the required structured out-of-cell
17   time for individuals in HOH units, see 14th Rep., ECF No. 221 at 110 (at TTCF 0%
18   received the required structured time, while at CRDF only 14% did). Defendants have
19   posted higher results for unstructured out-of-cell time, see id. (noting Defendants’ self-
20   reported percentages of 96% at CRDF and 93% at TTCF for unstructured time out-of-
21   cell). But the Monitor and his Mental Health Subject Matter Expert Team have called
22   into question Defendants’ self-reports. See 14th Rep., ECF No. 221, at 110 n.27
23   (describing a previous assessment finding the accuracy of Defendants’ reporting “highly
24
25   3
       Anyone assigned a P4 level of care requires inpatient care. See BOS 9/27/22
26   Transcript, at 213:4–7 (Dr. Timothy Belavich, head of Correctional Health Services,
     testifying that “P-4 is the acuity level for an individual who, if we have available an
27   inpatient bed, would be placed in an inpatient bed”); id. at 239:23 (estimating there were
28   about 200 such individuals as of September 27, 2022).
                                                    9
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 1   unreliable”). The self-reports are also inconsistent with the Monitoring team’s in-person
 2   observations, in which people in HOH units have been effectively locked down almost
 3   all the time. See 12th Rep., ECF No. 174-1, at 13–14 (noting that, during multiple visits
 4   to HOH units, the people there were “locked down as a matter of course” including when
 5   they received limited out-of-cell time, as even then they would be handcuffed to tables in
 6   the shared dayroom, preventing them from “engag[ing] in the activities that generally
 7   characterize out-of-cell time in jail environments, such as moving around the dayroom,
 8   exercising, reading, using the telephone, showering, engaging in group activities, or
 9   interacting with other inmates”).
10                4.    Defendants’ plans to achieve substantial compliance with
11                      provisions 63, 64, and 80 are insufficient.
12         In the last three months, Defendants have shared partial plans for provisions 63,
13   64, and 80, containing measures that are intended to reduce the demand for mental health
14   housing and inpatient care in custody. See United States’ Statement Relating to L.A.
15   Cnty. Sheriff’s Motion for Declaration of Conflict and for an Order Appointing Conflict
16   Counsel, ECF No. 211 at 3; 14th Rep., ECF No. 221, at 4. These steps include: (1)
17   expanding Moderate Observation Housing (MOH) units at Pitchess Detention Center
18   North (PDC North), which if done safely should offset some of the demand for mental
19   health housing systemwide; (2) creating a psychiatric urgent care unit that can administer
20   involuntary psychotropic medications, which should reduce the need for inpatient
21   housing; (3) expanding a stepdown program that provides more out-of-cell time and an
22   improved care environment for HOH individuals; and (4) expanding the MAT program,
23   which should reduce the likelihood of decompensation for individuals with co-occurring
24   mental health and substance use disorders, and thus reduce the pressure on limited
25   mental health housing. See ECF No. 211, at 2–3. Defendants should be ordered to carry
26   out these and other commitments safely and consistent with their implementation plans
27   for provisions 63, 64, and 80 by specific deadlines.
28         However, it is undisputed that Defendants’ partial plans will not meet the entire
                                               10
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 1   need for mental health housing to bring Defendants into substantial compliance with
 2   provisions 63 and 64, and will not stop the needless isolation of individuals with serious
 3   mental illness in their cells as provision 80 demands. See ECF No. 190, at 36
 4   (Defendants acknowledging that “more long-term solutions” beyond those articulated in
 5   implementation plans are needed), 43–45 (Monitor opining that Defendants’ plans do not
 6   provide sufficient assurance or explanation that substantial compliance will be achieved
 7   timely). For that reason, it is critical that Defendants be required to develop and
 8   implement lasting solutions to reach substantial compliance with these provisions within
 9   an appropriate, court-ordered period.
10         B.     The Court Has the Authority to Ensure Compliance by Issuing
11                Supplemental Orders.
12         District courts have authority to issue orders to ensure compliance with consent
13   decrees and vindicate the rights such consent decrees are intended to protect. See
14   Armstrong v. Brown, 768 F.3d 975, 986 (9th Cir. 2014); Parsons v. Ryan (“Parsons
15   III”), 949 F.3d 443, 454 (9th Cir. 2020). A court can issue “specific instructions” to an
16   entity to ensure such compliance: the appropriate “level of intrusiveness” depends “on
17   the history and circumstances of the case,” with the failure of “‘less intrusive
18   alternatives’” justifying broader ones. Armstrong, 768 F.3d at 986 (quoting Morales
19   Feliciano v. Rullan, 378 F.3d 42, 55 (1st Cir. 2004)). To issue an order setting forth
20   specific remedies to enforce an existing consent decree, it is not necessary for the Court
21   to engage in further factfinding to determine whether new constitutional violations have
22   occurred. See Parsons v. Ryan (“Parsons II”), 912 F.3d 486, 501 (9th Cir. 2018) (where
23   parties entered into settlement they agreed was necessary to correct violations of
24   constitutional rights, the court could issue an order to remedy the same underlying
25   violations without making new findings of constitutional violations).
26         Paragraph 115 of the settlement agreement states that, unless otherwise agreed to
27   under a specific provision of the settlement, “the County and Sheriff will implement all
28   provisions of this Agreement within six months of the Effective Date.” ECF No. 14 at
                                               11
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 1   53. Defendants have failed to do this for all provisions not yet in substantial compliance.
 2   To bring Defendants into substantial compliance, it is appropriate for this Court to issue
 3   orders with specific remedies. See Parsons II, 912 F.3d at 501.
 4         C.     Court-Enforceable Deadlines Are Necessary to Implement the
 5                Settlement Agreement and Bring Finality to this Case.
 6         The Court’s intervention is necessary to ensure substantial compliance with the
 7   settlement agreement and bring a timely end to the case. Defendants should be ordered to
 8   come into compliance with the entire settlement no later than June 30, 2024, and
 9   maintain that compliance for a period of twelve consecutive months in accordance with
10   provision 116. In particular, the United States requests that the Court issue an Order that:
11   (1) requires Defendants to demonstrate quarterly progress toward substantial compliance
12   with respect to provisions 63, 64, and 80 by setting intermediate benchmarks; (2)
13   requires compliance with agreed-upon implementation measures according to a set
14   schedule; (3) requires Defendants to achieve substantial compliance with outstanding
15   settlement provisions by specific deadlines; and (4) requires Defendants to achieve
16   substantial compliance with the entire agreement no later than June 30, 2024.
17         At stake are the federal constitutional rights of thousands of individuals. The
18   parties entered into the settlement agreement to protect the constitutional rights of
19   incarcerated persons in Defendants’ custody and care. The Eighth Amendment’s
20   prohibition of cruel and unusual punishment requires prisons to provide humane
21   conditions for incarcerated individuals convicted of crimes. Whitley v. Albers, 475 U.S.
22   312, 318–20 (1986); Estelle v. Gamble, 429 U.S. 97, 102–03 (1976); Mendiola-Martinez
23   v. Arpaio, 836 F.3d 1239, 1246 n.5 (9th Cir. 2016). The Fourteenth Amendment protects
24   the rights of incarcerated individuals who have not been tried, and their rights are even
25   more strongly safeguarded than individuals held post-conviction. See Bell v. Wolfish,
26   441 U.S. 520, 545 (1979) (“[P]retrial detainees, who have not been convicted of any
27   crimes, retain at least those constitutional rights . . . enjoyed by convicted prisoners.”);
28   Frost v. Agnos, 152 F.3d 1124, 1128 (9th Cir. 1998) (analyzing rights of pretrial
                                               12
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 1   detainees under the Fourteenth rather than Eighth Amendment); Vazquez v. Cnty. of
 2   Kern, 949 F.3d 1153, 1163–1164 (9th Cir. 2020) (Fourteenth Amendment “more
 3   protective” than Eighth because it “‘prohibits all punishment of pretrial detainees, while
 4   the Eighth Amendment only prevents the imposition of cruel and unusual punishment of
 5   convicted prisoners’” (quoting Demery v. Arpaio, 378 F.3d 1020, 1029 (9th Cir. 2004))).
 6   Correctional institutions must protect incarcerated individuals from serious risk of harm
 7   and take reasonable measures to provide for the health and safety of individuals in their
 8   custody. Farmer v. Brennan, 511 U.S. 825, 832 (1994); Helling v. McKinney, 509 U.S.
 9   25, 33–35 (1993).
10                1.     Defendants must demonstrate quarterly progress toward
11                       substantial compliance with respect to provisions 63, 64, and 80.
12         Court-imposed deadlines are necessary to ensure that Defendants make timely
13   progress toward substantial compliance with respect to critical remedial measures in
14   provisions 63, 64, and 80. In the last three months, Defendants have shared only partial
15   plans for these provisions. These plans contain measures proposed by Defendants and
16   agreed upon by the United States that, if executed properly, are intended to lead to some
17   reduction in the demand for mental health housing and inpatient care in custody, but not
18   to the levels necessary to bring them into substantial compliance, meaning that
19   insufficient numbers of incarcerated persons are receiving mental health care in settings
20   that meet their needs. See United States’ Statement Relating to L.A. Cnty. Sheriff’s
21   Motion for Declaration of Conflict and for an Order Appointing Conflict Counsel, ECF
22   No. 211 at 3; 14th Rep., ECF No. 221, at 4; see also ECF No. 190, at 43–45.
23         Indeed, it is undisputed that Defendants’ partial plans will not close the entire gap
24   for mental health housing. ECF No. 190, at 36 (Defendants acknowledging that “more
25   long-term solutions” beyond those articulated in implementation plans are needed). The
26   Monitor has also found that Defendants’ current plans, by themselves, do not chart a
27   realistic path to achieving substantial compliance. 14th Rep., ECF No. 221, at 4 (noting
28   that the County has recognized that these initial steps “will not, by themselves, bring the
                                                 13
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 1   County and the LASD into full compliance”) (internal quotations omitted); id. at 85
 2   (noting that Defendants had failed to “describe with specificity” efforts to ensure
 3   adequate inpatient capacity for individuals with the most serious mental health needs as
 4   provision 64 requires). As a result, incarcerated persons will continue to be denied
 5   treatment in appropriate housing and will continue to be subjected to needless isolation
 6   in violation of provisions 63, 64, and 80.4
 7         Therefore, the United States seeks an order that would require Defendants to
 8   achieve compliance benchmarks according to the following timetable:
 9   • Provision 63
10         o By the end of the first quarter of 2023, at least 65% of incarcerated individuals
11            must wait no more than seven days in mental health housing intake areas
12            before transferring to permanent mental health housing,5 with an average wait
13            no greater than nine days for the quarter.
14         o By the end of the second quarter of 2023, 70% of incarcerated individuals must
15            wait no more than seven days in mental health housing intake areas, with an
16            average wait no greater than eight days.
17         o By the end of the third quarter of 2023, 75% of incarcerated individuals must
18            wait no more than seven days in mental health housing intake areas, with an
19            average wait no greater than seven days.
20         o By the end of the fourth quarter of 2023, 80% of incarcerated individuals must
21            wait no more than seven days in mental health housing intake areas, and the
22
23   4
      In addition, troubling new developments underscore the need for Defendants to begin
24   implementing solutions immediately to avoid further harm to individuals in their custody
     and care. These developments include extremely unsafe, overcrowded conditions in the
25   IRC owing largely to the lack of adequate mental health housing. See Rutherford v.
26   Villanueva, No. 75-CV-04111-DDP, ECF No. 318-1, at 1–2 (C.D. Cal., Sept. 8, 2022).

27
     5
      “Permanent mental health housing” means “mental health housing,” as defined in
     provision 15(r) of the settlement agreement, ECF No. 14, at 8, where individuals receive
28   care and treatment in conditions that are consistent with the settlement agreement.
                                                 14
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 1            average wait must continue to be below seven days.
 2         o By the end of the first quarter of 2024, 85% of incarcerated individuals must
 3            wait no more than seven days in mental health housing intake areas, and the
 4            average wait must continue to be below seven days.
 5         o By the end of the second quarter of 2024, 90% of incarcerated individuals must
 6            wait no more than seven days in mental health housing intake areas, and the
 7            average wait must continue to be below seven days.
 8   • Provision 64
 9         o By the end of the first quarter of 2023, the difference between the total
10            population of individuals with a mental health level of care (MHLOC) of P4
11            and those receiving inpatient care must be, on average, no greater than 80
12            individuals.
13         o By the end of the second quarter of 2023, the difference must be, on average,
14            no greater than 60 individuals.
15         o By the end of the third quarter of 2023, the difference must be, on average, no
16            greater than 40 individuals.
17         o By the end of the fourth quarter of 2023, the difference must be, on average, no
18            greater than 20 individuals.
19         o By the end of the first quarter of 2024, the difference must be, on average, no
20            greater than 10 individuals.
21         o By the end of the second quarter of 2024, the difference must be, on average,
22            no greater than five individuals, and none of those individuals should wait
23            more than four hours for an inpatient placement.
24   • Provision 80
25         o By the end of the first quarter of 2023, 85% of HOH individuals will receive a
26            minimum of ten hours of unstructured out-of-cell time per week, and 75% a
27            minimum of 7.5 hours of structured out-of-cell time per week with at least 3.75
28            such hours consisting of group programming.
                                               15
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 1         o By the end of the second quarter of 2023, 90% of HOH individuals will receive
 2            a minimum of ten hours of unstructured out-of-cell time per week, and 80% a
 3            minimum of eight hours of structured out-of-cell time per week with at least
 4             four such hours consisting of group programming.
 5         o By the end of the third quarter of 2023, 95% of HOH individuals will receive a
 6             minimum of ten hours of unstructured out-of-cell time per week, and 85% a
 7             minimum of 8.5 hours of structured out-of-cell time per week with at least 4.25
 8             such hours consisting of group programming.
 9         o By the end of the fourth quarter of 2023, 100% of HOH individuals will
10             receive a minimum of ten hours of unstructured out-of-cell time per week, and
11             90% a minimum of nine hours of structured out-of-cell time per week with at
12             least 4.5 such hours consisting of group programming.
13         o By the end of the first quarter of 2024, 95% of HOH individuals will receive a
14             minimum of 9.5 hours of structured out-of-cell time per week with at least 4.75
15             such hours consisting of group programming.
16         o By the end of the second quarter of 2024, 100% of HOH individuals will
17             receive a minimum of ten hours of structured out-of-cell time per week with at
18             least five such hours consisting of group programming.
19                2.     Defendants must take agreed-upon measures to implement
20                       provisions 63, 64, and 80.
21         Although Defendants’ partial implementation plans for provisions 63, 64, and 80
22   are by themselves insufficient to achieve substantial compliance with those provisions,
23   the steps that they outline are critical to remove barriers to compliance. These steps are:
24   (1) expanding MOH units at PDC North; (2) creating a psychiatric urgent care unit; (3)
25   expanding the stepdown program; and (4) expanding the MAT program. To ensure
26   effective steps are taken to comply with the settlement agreement, the Court should
27   impose deadlines for Defendants to carry out these critical steps in accordance with the
28   specific dates outlined in their implementation plans. Therefore, the United States seeks
                                                 16
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 1   an order that would require the following:
 2             • Expansion of MOH units at PDC North. Defendants have committed to
 3   expand the number of MOH units at PDC North to offset some of the demand for mental
 4   health housing systemwide. See ECF No. 190 at 30. Assuming the challenges discussed
 5   above can be overcome and Defendants can do this safely, 6 Defendants should be able to
 6   add enough MOH capacity to cease using Men’s Central Jail (MCJ) for mental health
 7   housing. In addition, it should allow Defendants to convert several MOH units in the
 8   Twin Towers Correctional Facility to higher-demand HOH units, thus reducing the
 9   significant wait times for individuals who need HOH. See 14th Rep., ECF No. 221 at 84
10   (reporting that, in the first quarter of 2022, just 42% of individuals requiring HOH
11   waited fewer than seven days for it); ECF No. 190 at 12–13 (noting that HOH-intake
12   areas where incarcerated individuals await permanent HOH placements lack the staff and
13   facilities to permit almost any out-of-cell time). Consistent with their implementation
14   plans, Defendants must safely complete the conversion of PDC North to an all-MOH
15   facility by July 31, 2023.
16             • Creation of Psychiatric Urgent Care. Defendants have committed to
17   opening a new psychiatric urgent care unit in the Jails. ECF No. 190 at 32. This unit
18   would be licensed to provide involuntary psychotropic medication to individuals who
19   meet criteria for inpatient care, which should reduce the burden on the Jails’ overtaxed
20   6
       Defendants recently accelerated efforts to create new MOH units at the Pitchess
21   Detention Center North (PDC North) in response to court orders in another case. See
22   ECF No. 190 at 18–19; ECF No. 211 at 3; Rutherford, 2:75-cv-04111-DDP, ECF No.
     337, at 8–9. Defendants have acknowledged that this acceleration has “come[] at a
23   price,” with clinical and custody staff working extra shifts and clinicians’ hours at other
24   facilities being cut. Rutherford, 2:75-cv-04111-DDP, ECF No. 337, at 9 n.4. The United
     States has received reports of incarcerated individuals with mental illness at PDC North
25   not receiving their medications or other mental health services since this transition,
26   including individuals the United States spoke with onsite on October 14, 2022. Decl. ¶4.
     To the extent Defendants continue to rely on the expansion of mental health housing at
27   PDC North to comply with the settlement, it is critical that Defendants provide necessary
28   medication and adequate mental health treatment to individuals housed there.
                                                  17
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 1   inpatient unit. Id. at 32–33 (Defendants writing that they intend for psychiatric urgent
 2   care to “function as an acute stabilization unit that can be used to treat new P3 and P4
 3   inmates within 24 hours of when they are booked into custody and stabilize them before
 4   they are sent to the housing required for their level of care”). Defendants have informed
 5   the United States that funding was allocated for the psychiatric urgent care on or before
 6   October 2022. Decl. ¶5. Defendants must ensure the following:
 7                   o Defendants will obtain licensure and all other necessary approvals
 8                      from the state no later than March 31, 2023.
 9                   o Defendants will allocate sufficient staff to the psychiatric urgent care
10                      such that it can operate 48 beds and can administer involuntary
11                      psychotropic medications by March 31, 2023.
12                   o Defendants will assess the impact of the psychiatric urgent care on
13                      the demand for inpatient beds within one month after the psychiatric
14                      urgent care becomes operational, or by April 30, 2023.
15            • Expansion of Stepdown Program. The Jails have been operating
16   “Stepdown” HOH units that serve individuals who previously received inpatient care in
17   the Jails and others in the HOH population. ECF No. 190 at 31. These units, unlike
18   standard HOH areas, allow individuals to spend most of the day outside their cells
19   without restraints. Id. They also provide improved programming, and a better care
20   environment overall than standard HOH units. Id. They are also better at preventing
21   decompensation. Over time, increased use of such Stepdown units should reduce the
22   acuity of mental illness across the system, and thus help to reduce the demand on the
23   Jails’ overtaxed inpatient and HOH units, the two most impacted types of mental health
24   housing. Id. Defendants must expand the number of operational Stepdown units
25   according to the following schedule, which should be feasible based on their
26   implementation plans:
27                   o 12 Stepdown pods by March 2023;
28                   o 20 Stepdown pods by March 2024;
                                            18
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 1                    o 28 Stepdown pods by March 2025; and
 2                    o 30 Stepdown pods by June 2025.
 3              • Expansion of MAT Program. Defendants must expand their existing
 4   MAT program to reach at least 1,500 incarcerated individuals. Individuals with co-
 5   occurring mental health and substance use disorders who receive MAT should be less
 6   likely to decompensate, and this should in turn reduce the pressure on limited mental
 7   health housing. See ECF No. 190 at 34. Defendants must offer proof by March 31, 2023
 8   that at least 1,500 individuals in custody are receiving treatment through the MAT
 9   program.
10              • Improve access to out-of-cell time. Defendants must take the following
11   steps to improve access to out-of-cell time under provision 80:
12                    o Immediately, Defendants will change the process by which custody
13                       staff provide individuals with access to group meetings by offering
14                       the meetings to upper and lower tiers at the same time, and will
15                       develop a form to explain offers and refusals;
16                    o Immediately, clinicians already working in the Jails will take on
17                       group therapy and programming, and the County will develop a
18                       schedule of clinician-led groups; and
19                    o By February 28, 2023, Defendants will provide an analysis of a pilot
20                       program to hire outside contractors to provide groups within the jails,
21                       and detailed plans for expanding the pilot program throughout HOH
22                       housing.
23              • Provide data on impact on MOH and HOH. Defendants must gather data
24   regarding the above steps (MOH expansion at PDC North, creation of psychiatric urgent
25   care, stepdown expansion, MAT expansion, and adequate out-of-cell time in HOH)
26   immediately as those programs are implemented, and analyze that data in order to
27   project the impact those programs will have on HOH and MOH demand. Defendants
28   must provide the data and their analysis no later than January 31, 2023.
                                                 19
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 1            • Analyze expansion of diversion. Defendants must assess whether the
 2   expansion of the Los Angeles County Office of Diversion and Reentry (ODR) will
 3   sufficiently reduce the demand for mental health housing in custody to bring provisions
 4   63, 64, and 80 into substantial compliance. Defendants should provide this analysis no
 5   later than January 31, 2023.
 6            • Implement lasting solutions to bring settlement into compliance.
 7   Defendants must develop long-term solutions to reach substantial compliance with
 8   provisions 63, 64, and 80. Defendants should be ordered to develop and begin
 9   implementing their long-term solutions to ensure all individuals in HOH receive
10   sufficient group programming and out-of-cell time no later than February 17, 2023,
11   subject to review and approval by the United States and Monitor. And Defendants
12   should be ordered to develop and begin implementing long-term solutions to close the
13   remaining gap between mental health housing demand and supply no later than May 17,
14   2023, subject to review and approval by the United States and Monitor.
15                3.    Defendants must achieve substantial compliance with
16                      outstanding settlement provisions by specific deadlines and with
17                      the entire agreement no later than June 30, 2024.
18         The Monitor has found that Defendants have not yet reached substantial
19   compliance with 29 provisions of the settlement agreement. 14th Rep., ECF No. 221, at
20   2. Of these provisions, Defendants determined—and the United States agreed—that
21   implementation plans were necessary to bring 23 of them into compliance. See ECF No.
22   180 at 3–6; ECF No. 190 at 2, 21. These provisions include 21 provisions focused on
23   mental health care and suicide prevention (provisions 25, 26, 31, 36, 37, 39, 40, 42, 43,
24   52, 53, 57, 58, 63, 64, 65, 66, 67, 70, 79, and 80); one provision focused on release
25   planning (provision 34); and one provision focused on prevention of excessive force
26   (provision 81). See Settlement, ECF No. 14, at 13–41. There is no dispute that
27   Defendants remain far from compliance on a number of these provisions, including 63,
28   64, and 80. ECF No. 190 at 36. Defendants must bring these provisions into compliance
                                              20
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 1   to ensure people with mental illness receive treatment to which they are entitled, and to
 2   prevent unnecessary and dangerous use of lockdown in mental health housing areas. See
 3   Disability Rts. Montana, Inc. v. Batista, 930 F.3d 1090, 1098–1099 (9th Cir. 2019). That
 4   many individuals in the Jails are pretrial and have not been convicted of a crime
 5   underscores the importance of the rights at stake. See Vasquez, 949 F.3d at 1163–1164;
 6   Gordon v. Cnty. of Orange, 888 F.3d 1118, 1124–25 (9th Cir. 2018).
 7         To ensure accountability and effectuate the settlement agreement, Defendants
 8   should be ordered to achieve substantial compliance with all provisions not yet in
 9   substantial compliance no later than June 30, 2024. This allows sufficient time for
10   Defendants to take actions necessary to comply with the most intractable remaining
11   provisions, for example by increasing mental health housing capacity within the Jails, or
12   increasing diversion and alternatives to incarceration sufficiently to address the mental
13   health housing gap in custody. Defendants must maintain substantial compliance once
14   achieved for a period of twelve consecutive months in accordance with provision 116. In
15   addition, for certain provisions, Defendants should be ordered to achieve substantial
16   compliance earlier than June 30, 2024, specifically by the deadlines set forth below.
17   Defendants should be able to meet these earlier targets based on commitments they have
18   made in the implementation plans for these provisions.
19
20    Provision Provision Topic                                        Substantial
      No.                                                              Compliance Deadline
21              Transportation of suicidal individuals from            March 31, 2023
      25
22              station jails and observation pending transfer
      26        Identifying prisoners with emergent or urgent          Reached June 2021–
23              MH needs upon arrival at reception centers             March 2022; must
24                                                                     maintain one additional
                                                                       quarter
25                Release planning                                     December 31, 2022
      34
26                MH assessments after adverse triggering events       March 31, 2023
      36
27                Court Services Division referrals                    January 31, 2024
      37
28
                                                 21
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 1    40          Availability of Qualified Mental Health               June 30, 2023
                  Professionals
 2                Disciplinary policies for individuals with mental     June 30, 2023
      43
 3                illness
      52          HOH property restrictions                             June 30, 2023
 4
      57          Safety checks in MH housing                           May 16, 2024
 5
      58          Safety checks in non-MH housing                       May 16, 2024
 6
      65          Administration of psychotropic medications            February 24, 2024
 7
      66          Active mental health caseloads outside MH             March 31, 2023
 8                housing
 9    67          Refusals of medications                               March 31, 2023
10
11         CONCLUSION
12         For the reasons stated above, the United States requests that the Court issue an
13   Order that (1) requires Defendants to demonstrate quarterly progress toward substantial
14   compliance with respect to provisions 63, 64, and 80 by setting intermediate
15   benchmarks; (2) requires compliance with agreed-upon implementation measures
16   according to a defined schedule; (3) requires Defendants to achieve substantial
17   compliance with outstanding settlement provisions by specific deadlines; and (4)
18   requires Defendants to achieve substantial compliance with the entire agreement no later
19   than June 30, 2024, and to maintain substantial compliance for a period of twelve
20   consecutive months in accordance with provision 116. Such an Order is necessary to
21   ensure Defendants’ compliance with the settlement agreement. Furthermore, it is
22   narrowly drawn, extends no further than necessary to correct ongoing violations of
23   federal rights agreed to by the parties with entry of the settlement agreement, is the least
24   intrusive means necessary to correct these violations, and will not have an adverse
25   impact on public safety or the operation of the criminal justice system. 18 U.S.C. §
26   3626(a). The United States provides notice of its intention to seek all appropriate
27   remedies, including contempt, if Defendants fail to meet any of these dates.
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                                                    Respectfully submitted,
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     Dated: November 10, 2022                       FOR THE UNITED STATES:
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